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                          UNITED STATES DISTRICT COURT FOR THE

                                EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )              Case No.   1:07-cr-00101 AWI
                              )
     vs.                      )              ORDER OF DETENTION FOLLOWING
                              )              REVOCATION OF PREVIOUSLY SET
ROBERT MORENO,                )              CONDITIONS OF RELEASE
                              )
               Defendant.     )
______________________________)

A.       Order for Revocation and Detention

         After conducting a hearing pursuant to 18 U.S.C. § 3148(b) on the government's
         motion for revocation of the previous order for release, the Court orders the
         previous conditions of pretrial release revoked and this defendant detained.

B.       Statement of Reasons for the Revocation and Detention

         The Court orders the revocation of pretrial release conditions and the
         defendant's detention because it finds:

                (1)     There is probable cause to believe this defendant has committed
                        a Federal, State, or local crime while on release.

                                                or

           X    (2)     There is clear and convincing evidence that this defendant has
                        violated a condition or conditions of release.

                                               and

                (3)     That based on the factors set forth in § 3142(g), there is no
                        condition or combination of conditions of release that will assure
                        that this defendant will not flee or pose a danger to the safety of
                        any other person or the community; or,

           X    (4)     That this defendant is unlikely to abide by any condition or
                        combination of conditions of release.

                (5)     That this defendant has not rebutted the rebuttable presumption
                        contained in 18 U.S.C. § 3148(b) that no condition or combination
                        of conditions will assure that the person will not pose a danger
                        to the safety of any other person or the community based upon the
                        existence of probable cause to believe that, while on release, the
                        defendant committed a Federal, State, or local felony.


               IT IS SO ORDERED.

               Dated:     June 25, 2008              /s/ Gary S. Austin
6i0kij                                          UNITED STATES MAGISTRATE JUDGE
